Case 2:18-cv-09303-JMV-MF Document 57 Filed 05/29/20 Page 1 of 2 PageID: 419




  Alan E. Schoenfeld
  WILMER CUTLER PICKERING
     HALE AND DORR LLP
  7 World Trade Center
  250 Greenwich Street
  New York, NY 10007
  Tel. (212) 230-8800
  Fax: (212) 230-8888
  alan.schoenfeld@wilmerhale.com

  Attorney for Defendants

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


SARAH A. BULUT,

                              Plaintiff,
                                                  Case No. 2:18-cv-09303-JMV-MF
      v.
                                                  Judge John Michael Vazquez
JP MORGAN CHASE BANK, N.A.,
VISA, INC., and VISA USA, INC.,

                              Defendants.


     STIPULATION OF DISMISSAL WITHOUT PREJUDICE
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii)

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sarah

Bulut and Defendants JPMorgan Chase Bank, N.A., Visa Inc., and Visa U.S.A.

Inc. hereby stipulate that:

      1.     All claims, defenses, motions, and petitions asserted by the parties are

dismissed without prejudice; and


                                            -1-
Case 2:18-cv-09303-JMV-MF Document 57 Filed 05/29/20 Page 2 of 2 PageID: 420




     2.      Each party shall bear its own costs and attorneys’ fees.

     SO STIPULATED:
     Dated: May 28, 2020

                                          Sarah A. Bulut
                                          38 Ward Street
                                          Clifton, NJ 07011
                                          Ph. (646) 641-3028

                                          Pro Se Plaintiff




                                              s/ Alan E. Schoenfeld
                                          Alan E. Schoenfeld
                                          WILMER CUTLER PICKERING
                                            HALE AND DORR LLP
                                          7 World Trade Center
                                          250 Greenwich Street
                                          New York, NY 10007
                                          Tel: (212) 230-8800
                                          Fax: (212) 230-8888

                                          Attorney for Defendants



          5/29/2020




                                        -2-
